   Case 3:17-cv-02641-AET Document 24 Filed 11/20/17 Page 1 of 2 PageID: 500


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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY                   NOV 2 O2017
                                                                         AT 8:30                M
                                                                             WILLIAM T. WALSH
  C. TATE GEORGE;                                                                 Cl FRf(
                                                      HONORABLE ANNE E. THOMPSON
                          Petitioner,
                                                                    Civil Action
                                                                 No. 17-2641 (ABT)
           v.

  UNITED STATES OF AMERICA,                                           ORDER

                          Respondents.


        This matter having come before the Court on Petitioner's motion to amend (ECF No. 21)

and motion for default judgment (ECF No. 22); the Court having decided the motions on the

papers, Fed. R. Civ. P. 78(b); and for the reasons explained in the Opinion of today's date; in the

interests of justice and for good cause shown;

        IT IS this   2,Dty of   ~                                  , 2017, hereby

        ORDERED that Petitioner's motion to amend (ECF No. 21) is GRANTED. The Clerk

will file the document attached to the motion as a separate docket entry designated as Second

Amended Petition; and it is further

        ORDERED that Petitioner's motion for default judgment (ECF No. 22) is DENIED; and

it is further

        ORDERED that Respondent shall show cause within 14 days of this Order why the

Second Amended Petition should not be granted; and it is finally
   Case 3:17-cv-02641-AET Document 24 Filed 11/20/17 Page 2 of 2 PageID: 501



       ORDERED that the Clerk of the Court shall send a copy of this Opinion and Order to

Petitioner by regular mail.



                                                 U.S. District Judge




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